
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-2013

                                    UNITED STATES,

                                      Appellee,

                                          v.

                          MANUEL GONZALEZ-SOBERAL, AKA RAUL,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Jos  Antonio Fust , U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                           and DiClerico,* District Judge.
                                           ______________

                                _____________________

               Rafael F. Castro Lang for appellant.
               _____________________
               Jos   A.  Quiles-Espinosa, Senior  Litigation  Counsel, with
               _________________________
          whom  Guillermo Gil,  United States  Attorney, and  Nelson P rez-
                _____________                                 _____________
          Sosa,  Assistant  United  States  Attorney,  were  on  brief  for
          ____
          appellee.



                                 ____________________

                                    March 26, 1997
                                 ____________________

                              
          ____________________

          *  Of the District of New Hampshire, sitting by designation.














                    TORRUELLA,  Chief  Judge.   Defendant-appellant  Manuel
                    TORRUELLA,  Chief  Judge.
                                ____________

          Gonz lez-Soberal  ("Gonz lez-Soberal")  was  convicted   on  four

          counts:  (1)  conspiracy to  possess  with  intent to  distribute

          multi-kilogram  amounts  of  cocaine;  (2)distribution  of  eight

          kilograms  of cocaine on  October 13,  1991; (3)  distribution of

          nineteen  kilograms  of  cocaine on  October  20,  1991;  and (4)

          distribution of  twenty-nine kilograms of cocaine  on October 27,

          1991.   He  now appeals,  claiming errors  in the  jury selection

          process, the jury instructions,  and in the actions of  the trial

          judge,  including sentencing.   Finding  no reversible  error, we

          affirm.   We  deal with  each claim  in turn,  discussing factual

          details as they become relevant.

                                  I.  Jury Selection
                                  I.  Jury Selection

                    Appellant makes  three claims with respect  to the jury

          selection.   First, he argues  that the district  court committed

          reversible  error when  it removed  juror number  9.   Second, he

          submits that the failure to remove juror number 45 for failure to

          adequately  speak  and  understand  English  was also  reversible

          error.  Finally, he contends that the district court's failure to

          remove juror number 1 for cause was reversible error.

                    A.  Juror Number 9
                    A.  Juror Number 9

                    Federal  Rule of  Criminal  Procedure  23(b) permits  a

          trial judge to excuse a  juror for just cause if the  judge finds

          it necessary to do  so.  Fed. R. Crim.  Proc. 23(b).  "The  trial

          judge   has   substantial    discretion   in   exercising    this

          responsibility  and may remove the juror when 'convinced that the


                                         -2-














          juror's abilities to perform his duties [have] become impaired.'"

          United States v.  Walsh, 75  F.3d 1, 5  (1st Cir. 1996)  (quoting
          _____________     _____

          United States v. Huntress, 956 F.2d 1309, 1312 (5th Cir. 1992)).
          _____________    ________

                    The  circumstances  under  which  juror  number  9  was

          removed  are  as follows.   While  the  judge was  delivering the

          charge,  there was  a  disruption in  the  jury box.   The  judge

          summarized the incident as follows:

                         I remember  juror  number 9  from  her
                      impaneling   questions,   she's  a   very
                      intelligent  woman,  she's an  economist.
                      Her  husband works  at the  Department of
                      Treasury.    She's --  she's  --  she's a
                      person  with a  lot of  education, formal
                      education.   But I  do think that  what I
                      saw here in court  today was not a normal
                      reaction.  That is not a normal reaction.

                         It's  entirely   possible  that  she's
                      having  some sort  of problem  that she's
                      not even aware of.  But what she did, she
                      interrupted the jury charge, and as if we
                      were not here, as if she was alone with -
                      - with  a juror  that is sitting  next to
                      her,  she started a conversation with him
                      in a loud tone of voice.  She  started to
                      touch this juror, tried to  take his name
                      tag   off  of  his  clothing,  asked  him
                      questions  about the  problems, something
                      around his neck or I don't know what.

                         I stopped, listened, watched,  did not
                      make an issue.   And when I  asked her up
                      here, when  I asked  her up here  she did
                      not remember what had happened, actually.
                      She  could not  remember the  reasons why
                      she  interrupted  the   jury  charge   or
                      started to touch her  neighbor.  And I --
                      I honestly think that  she has a problem.
                      I don't  know what  the problem is.   She
                      has some  sort of problem with  her.  Not
                      only that, but some of the jurors have --
                      some of the  jurors have expressed  their
                      concern about  her ability to  be sitting
                      in this jury.


                                         -3-














          Tr. II at 449-50.

                    Based  on  his  observation  of the  incident  and  his

          subsequent  investigation,  the  judge  decided to  excuse  juror

          number 9  and to  substitute one  of  the alternate  jurors.   He

          offered defense counsel the opportunity to choose between the two

          alternate jurors, and counsel chose alternate number 1.

                    The judge then  asked juror  number 9  to approach  the

          bench and  explained to  her his  intention to  excuse her.   She

          stated that she  had found the  case very difficult and  that she

          felt  compassion  for  those  involved.   Upon  questioning,  she

          responded  that she had not  slept well the  night before because

          she had  been thinking about the  case.  She also  told the court

          that  she took medication to control her epilepsy.  The following

          colloquy ensued:

                      The  Court:     Have  you  had  problems,
                      seizures  and  things  like  that  in the
                      past?

                      Juror:  The people says.

                      The Court:  People say that?

                      Juror:   But I say that I have -- I don't
                      have anything.

                      The Court:  I see.

                      Juror:  Because my reactions are normal.

          Tr. II at 455-56.  And a few moments later:

                      The Court:  Do you remember what prompted
                      you to talk to your neighbor?

                      Juror:  What you say?

                      The Court:   When I  was instructing  the
                      jury --

                                         -4-














                      Juror:  Uh-huh.

                      The  Court:   -- You  decided to  talk to
                      your next door neighbor.  Do you remember
                      that?

                      Juror:  No.

                      The Court:  You don't remember that?

                      Juror:  No.

                      The Court:  I see.  And you tried to take
                      his  name tag  away,  this one.   Do  you
                      remember that?

                      Juror:  No.

          Tr. II at 456-57.

                    Finally, in  explaining his  decision to the  jury, the

          judge made the following remarks:

                         I  noticed that when I was instructing
                      you,  all  of a  sudden she  like blanked
                      out, that  I was  watching.  She  was not
                      here anymore and she turned to  the right
                      to her neighbor, started  to talk to him.
                      I  could  not  understand  what  she  was
                      saying.   It  didn't  seem  to have  much
                      logic  to what she was saying, the words,
                      and  then  she grabbed  his name  tag and
                      said  something  about,  "what's on  your
                      neck,"  or  something along  those words.
                      She doesn't remember that.

                         She   is   --   she's    taking   some
                      medication.  I think she has some sort of
                      problem,  physical  problem.   She  takes
                      medication, anticonvulsive medication.  I
                      honestly hope that she's  okay.  But I do
                      think  that  under  the circumstances,  I
                      think it would be unfair -- I don't think
                      it would be right for me to  leave her in
                      the  -- in the jury panel, because that's
                      not right.

          Tr. II at 459-60.




                                         -5-














                    In light of all of the above, we do not find reversible

          error in the decision to excuse the juror.  There was significant

          evidence  that juror number  9 was no longer  able to perform her

          duties.   Considering the deference that we must accord the trial

          judge in  matters such  as this  one, we  affirm the  decision to

          remove the  juror.   We add  that there is  no evidence  that the

          judge's  decision was influenced by the juror's view of the case.

          Although the juror stated that she found the case to be difficult

          and that she  had "compassion for these people,"   Tr. II at 453,

          these  statements were made after the judge had decided to remove

          her  from the  jury.   Furthermore,  they  do not,  as  appellant

          contends,  demonstrate  that "she  had  reasonable  doubts as  to

          whether or not  appellant should be  found guilty."   Appellant's

          Brief  at  15.   A juror  might find  a  case difficult  for many

          reasons,  and   to  conclude   that  she  favored   acquittal  is

          speculative.

                    Our decision is  consistent with this court's  decision

          in United  States v.  Molinares Charris,  822 F.2d  1213, 1222-23
             ______________     _________________

          (1st Cir. 1987) in which we upheld the decision to excuse a juror

          whose health appeared  to be at  risk.  The  juror was  obviously

          distressed by  the proceedings and  had taken  a tranquilizer  in

          order to calm her nerves.

                    Similarly, in the instant case, the judge was concerned

          with  the juror's  health.    After  an  investigation  into  the

          situation,  the judge felt  that the stress of  the trial posed a




                                         -6-














          risk to the juror's  health and that  her ability to perform  her

          duties had been compromised.

                    As we stated in Molinares Charris, "[w]e should  not be
                                    _________________

          quick to second guess a trial judge, who was in a better position

          than  we are  to assess  the severity  of the  situation.   After

          making  careful inquiries, and recognizing her responsibility for

          the well-being of those called upon to serve the court, the judge

          decided that  the risk to the juror's health was too great."  Id.
                                                                        ___

          at 1223.

                    B. Juror Number 45
                    B. Juror Number 45

                    Appellant next claims that the district court committed

          reversible  error by failing to  remove juror number  45.  During

          the investigation of  juror number 9, the judge interviewed juror

          number 45.  The exchange went as follows:

                      The Court:  Your name and number, please.

                      Juror:   My  name  is Byron  Chique.   My
                      number on the list is 45.

                      The  Court:   You  have  noticed anything
                      wrong  with  the  lady  that  started  to
                      talking in a loud tone of voice?

                      Juror:  Yes.  Yes.

                      The Court:  What have you noticed?

                      Juror:   Talking  in English,  it's  very
                      difficult  to  explain to  you,  but this
                      morning not too much important but she --
                      she say  -- I  can't explain  in English.
                      It's very difficult.

                      The Court:   Which  word are you  looking
                      for?

                      Juror:  Let me say --


                                         -7-














                      The Court:   Which  word are  you missing
                      that  you cannot  --  I'll give  you  the
                      word.

                      Juror:  I can say it in Spanish.

                      The Court:  What is the word?

                      Juror:  (In Spanish)

                      The Court:   Jaime, there is  a word that
                      he  is  having a  problem  with  he can't
                      explain.

                      Juror:  (Conferring withthe interpreter.)

                      Interpreter:   I told  the lady --  I was
                      talking  to the  lady this morning  and I
                      told  her and  she  was --  she was  like
                      expectant, she was hesitant in her -- her
                      actions.

                      Juror:  Yes.

                      The  Court:   It struck you  as something
                      abnormal?

                      Juror:  Not normal, not exactly normal.

                      The Court:  Not normal?

                      Juror:  No.

                      The Court:  Okay.  What was your reaction
                      then when  you saw her speak  the way she
                      did in  open court  in the middle  of the
                      charge  and  start  to  fix  the  --  her
                      neighbor's name tag?  You saw that?

                      Juror:  Would you repeat, please?

                      The Court:   You saw -- you saw  her when
                      she grabbed her  neighbor's name tag  and
                      tried to --

                      Juror:  Yeah.

                      The Court:  -- fix it?

                      Juror:  I see -- I see that is not in his
                      body.  his body -- she -- likes to sleep.
                      (Confers with interpreter)

                                         -8-














                      Interpreter:    She  seemed  to  be  like
                      asleep, like she was sleepwalking.

                      The Court:  Oh, I see.  Okay.  Thank you.

          Tr. II at 443-46.

                    Appellant's counsel  then stated  that he  had concerns

          about  juror  number  45's  knowledge and  understanding  of  the

          English  language.    The  district  court  disagreed.    Shortly

          thereafter,  counsel again  raised the  question of  juror number

          45's proficiency in English.  The judge responded:

                      Number  one, Mr.  Chique was  examined in
                      English by me.  There is a piece of paper
                      that I gave these people for them to talk
                      to me in English when I'm selecting them,
                      and   he  was  able  to  express  himself
                      clearly in  English.  I have  no doubt in
                      my mind.

                         I  can  tell  you  something,  .  .  .
                      whenever I have the slightest doubt about
                      somebody's  English, not only do I excuse
                      that person  from the panel,  I eliminate
                      the person  from the list,  from the jury
                      pool   completely.    I  don't  take  any
                      chances with that.

                         He   was   looking    for   a    word,
                      "sleepwalking," and that is not a concept
                      that you deal with every day.  And he was
                      pretty   nervous.    He  was,  you  know,
                      nervous up  here trying to explain  to me
                      something,  and that's  why he  could not
                      find the word.

                         He's     perfectly      capable     of
                      understanding the evidence in  this case.
                      I don't have a  problem with that at all.
                      And  if I  had, believe  me, he  wouldn't
                      even  be  on  the  jury  to  begin  with,
                      because I don't take chances with that.

          Tr. II at 449.




                                         -9-














                    A trial  judge has substantial discretion  to determine

          when jurors  should be  removed for  cause.   We are hesitant  to

          reverse  the  reasoned  conclusion  of  the  trial  judge on  the

          question  of a juror's ability  to understand English because the

          trial judge is  in a much better position to  assess the language

          competency  of a  particular juror.   See Molinares  Charris, 822
                                                ___ __________________

          F.2d at 1222-23; Walsh, 75 F.3d at 5.
                           _____

                    In  the instant case, the juror in question had met the

          statutory linguistic competency standard under the Jury Selection

          and Service Act, 28 U.S.C.   1865, and had undergone voir dire --

          during which defense counsel had  the opportunity to question the

          juror.

                    Although   those  portions  of  the  transcript  quoted

          suggest that the juror's command of the English language was less

          than that of a native speaker, they do not warrant the conclusion

          that the juror was unable to follow the proceedings or understand

          the evidence  and therefore do  not merit reversal.   In light of

          our deferential  standard of  review and the  limited information

          available  from the  transcript, we  cannot overturn  the judge's

          decision  to retain  juror  number  45.   We  find  no  abuse  of

          discretion.

                    C.  Juror No. 1
                    C.  Juror No. 1

                    During voir dire, juror number 1 stated that his father

          had  been  killed by  a drug  dealer  during a  holdup.   Defense

          counsel sought to have the juror excused for cause.  The district

          court, having  interviewed the  juror, determined that  he should


                                         -10-














          not be excused  for cause.  Defendant eventually  used one of his

          peremptory challenges to strike the  juror.  Appellant now argues

          that  the  juror should  have been  removed  for cause,  that the

          failure  to  remove  the juror  forced  the  defendant  to use  a

          peremptory challenge, and that this constitutes grounds for a new

          trial.

                    It  is  well  established  that  the  trial  court  has

          considerable discretion in  ruling on challenges for cause.   See
                                                                        ___

          Dennis  v. United States, 339 U.S. 162, 168 (1950).  "Substantial
          ______     _____________

          deference  is due the trial court's exercise of its discretion in

          handling   situations   involving   potential   juror   bias   or

          misconduct."   United States v. Angiulo, 897 F.2d 1169, 1185 (1st
                         _____________    _______

          Cir.  1990).   "There are few  aspects of  a jury  trial where we

          would be less  inclined to  disturb a trial  judge's exercise  of

          discretion, absent  clear abuse, than in ruling on challenges for

          cause in the  empaneling of a jury."  United  States v. McCarthy,
                                                ______________    ________

          961  F.2d 972, 976 (1st Cir. 1992) (internal quotations omitted).

          "We review a trial judge's exercise of discretion in empaneling a

          jury for 'clear abuse.'"  United States v. Bartelho, 71 F.3d 436,
                                    _____________    ________

          443 (1st Cir. 1995).

                    In the  instant case, after  the juror stated  that his

          father had been killed by a drug dealer, the judge asked: "Do you

          believe  that even though  this happened  within your  family you

          could  still be a judge of  the facts in a drug  case and be fair

          and impartial?"  Tr. I at 11A.  The juror responded "yes, I can."

          Tr.  I at  11A.   Following an exchange  with counsel,  the judge


                                         -11-














          decided to leave the  juror on the  panel, citing as reasons  the

          fact that the  juror, when  asked if he  could be impartial,  had

          been  extremely  assertive  in  his  answer,  and  that   he  was

          intelligent. 

                    Nothing in either the record or the  parties' briefs on

          appeal suggests that the  trial court's decision to retain  juror

          number  1 was  grossly  in  error.   The  judge appears  to  have

          concluded, after considering  the suitably of the juror,  that he

          could remain  on the panel.   Neither a  lack of judgment  on the

          part of the  judge nor  prejudice toward the  defendant has  been

          demonstrated.  We find no "clear abuse."

                    Because  we find no clear abuse  in the judge's refusal

          to remove the juror,  we need not address the question of whether

          forcing  the appellant to  use a peremptory  challenge is grounds

          for a new trial.

                                II.  Jury Instructions
                                II.  Jury Instructions

                    A.  Appellant's Requested Jury Instruction
                    A.  Appellant's Requested Jury Instruction

                    Appellant next claims that the district court committed

          reversible  error when  it failed  to give  appellant's requested

          instruction  concerning  the impeachment  of  witnesses by  prior

          conviction.

                    In  considering  challenges to  jury  instructions, the

          refusal to give a requested instruction is  reversible error only

          if  "the instruction  (1) is  substantively correct; (2)  was not

          substantially  covered in  the charge  actually delivered  to the

          jury;  and (3) concerns an  important point in  the trial so that


                                         -12-














          the failure to give it seriously impaired the defendant's ability

          to  effectively  present a  given  defense."   United  States  v.
                                                         ______________

          Gibson,  726  F.2d  869  (1st  Cir.  1984)  (internal  quotations
          ______

          omitted).  The charge "need not follow the exact form and wording

          of the defendant's proposed instructions."  Id.
                                                      ___

                    In  the  instant   case,  Gonz lez-Soberal  sought  the

          following instruction:

                      You  have  been  told  that  the  witness
                      _______ was convicted  in 19__ of  [e.g.:
                      armed robbery].  A conviction is a factor
                      you  may consider in  deciding whether to
                      believe  that  witness, but  it  does not
                      necessarily    destroy   the    witness's
                      credibility.  It has been brought to your
                      attention  only because  you may  wish to
                      consider it  when you decide  whether you
                      believe the witness's testimony.

          Appellant's Proposed Jury Instruction #1.12.

                    The jury instructions delivered by the  court, although

          they did  not contain this  precise instruction, did  include the

          following language:

                         You  have  heard  testimony   from  an
                      unindicted  co-conspirator,  Mr.  William
                      Negr n  Zapata, and  from a  defendant in
                      this  same case  who,  as you  know,  was
                      tried  earlier,  Willy  Maya Acosta,  who
                      have   --   who  both   have  cooperation
                      agreements  with  the  government.    The
                      testimony by Mr. Negr n Zapata  was given
                      in   exchange  for   a  promise   by  the
                      government that he will not be prosecuted
                      for some crimes he  admittedly committed,
                      including  the ones  in this  case.   The
                      testimony  by Willy Maya Acosta was given
                      in order to hopefully receive a reduction
                      of sentence on account of cooperation.

                         In  evaluating   this  testimony,  you
                      should  consider  whether that  testimony
                      has been influenced  by the  government's

                                         -13-














                      promise,  and  you  should consider  that
                      testimony with greater caution  than that
                      of ordinary witnesses.   Such  agreements
                      are  legal.   The law only  requires that
                      you consider testimony given  under those
                      circumstances  with greater  caution than
                      that of ordinary witnesses.

          Tr. II at 406-07.

                    Although the  instructions given  by the judge  did not

          contain  the specific  instruction  sought  by  Gonz lez-Soberal,

          "there is  not reversible  error if  the jury  charge taken  as a

          whole substantially covered the issues contained in the requested

          instruction."  Angiulo, 897 F.2d at 1207.
                         _______

                    Having reviewed the instructions  given to the jury, we

          conclude that  they substantially covered  issues of  credibility

          with  respect to the witnesses  in question.   The judge reminded

          the jury that the two witnesses had been  convicted and that they

          had  cooperation  agreements  with   the  government.    He  gave

          instructions concerning the credibility of witnesses, telling the

          jury  that they should view the testimony of these witnesses with

          greater caution than the testimony of an ordinary witness.  There

          is no  reason to  believe that  the jurors  were misled  by these

          instructions, or that they believed it impermissible to view with

          additional skepticism  the testimony  of witnesses who  had prior

          convictions.    Accordingly, we  find  no  error  in  these  jury

          instructions.

                    B. Reasonable Doubt
                    B. Reasonable Doubt






                                         -14-














                    Gonz lez-Soberal  also  claims that  the  trial court's

          jury  instructions  regarding   reasonable  doubt   impermissibly

          reduced the government's burden of proof.

                    In his initial instructions to the jury, the judge made

          the following remarks:

                         Second.  The burden of proof is on the
                      government  until  the  very  end  of the
                      case.   The  defendant has  no  burden to
                      prove  his innocence  or  to present  any
                      evidence  or  to  testify.     Since  the
                      defendant has the right to remain silent,
                      the law prohibits you in arriving at your
                      verdict  from   considering  whether  the
                      defendant may or may not have testified.

                         Third.   The  government must  prove a
                      case  against  the  defendant   beyond  a
                      reasonable  doubt.     I  will  give  you
                      further  instructions at  the end  of the
                      case, but in this sense be mindful, those
                      of you  who participated in  civil cases,
                      that the standard is  different.  In  the
                      civil case we say a plaintiff prevails if
                      he proves  a case  by a  preponderance of
                      the evidence.   In the  criminal case the
                      situation we say the  government prevails
                      if it proves  a case beyond  a reasonable
                      doubt.

                         If  I  were to  graphically illustrate
                      for  purposes  of  an  initial  charge or
                      instruction so you have an idea what  I'm
                      talking about, I would  say this.  In the
                      civil case if  we bring a  balance, scale
                      of   the  type  used  in  old  drugstores
                      before,  not  any   more,  you  will  put
                      evidence - in the civil  case plaintiff's
                      evidence  on  one   of  the  plates   and
                      defendant's  evidence  on the  other, you
                      will see  how well  the reaction is.   If
                      the scale just starts moving a little bit
                      to  the  plaintiff's side,  the plaintiff
                      has prevailed.  That is  preponderance of
                      the evidence.

                         When  we  say  "beyond   a  reasonable
                      doubt," proving a defendant guilty beyond

                                         -15-














                      a  reasonable  doubt, by  the  very words
                      we're implying that  the government has a
                      heavier burden  than the one that  I just
                      described.      Because   liberties   are
                      involved, it's a  different kind of case,
                      therefore  the   government's  burden  is
                      heavier than that and I will explain that
                      at the end of the case.

          Tr. I at 11-13.

                    At  the  end of  the case,  the  judge returned  to the

          reasonable doubt issue:

                         The presumption of innocence  alone is
                      sufficient to find him not guilty and can
                      only be overcome if the government proves
                      beyond  a reasonable doubt each and every
                      essential element of the crimes charged.

                         And  what  is  reasonable  doubt?    A
                      reasonable  doubt is  a doubt  based upon
                      reason and  common  sense and  may  arise
                      from    a     careful    and    impartial
                      consideration of all the evidence or from
                      lack   of  evidence.     Proof  beyond  a
                      reasonable doubt is proof that leaves you
                      firmly  convinced  that the  defendant is
                      guilty.

                         If,  after  a  careful  and  impartial
                      consideration with your fellow  jurors of
                      all the evidence,  you are not  convinced
                      beyond  a  reasonable   doubt  that   the
                      defendant is  guilty, it is your  duty to
                      find the defendant not guilty.

          Tr. II at 418-19.

                    This  court has  cautioned against  the risks  that can

          accompany attempts to define reasonable doubt.  See United States
                                                          ___ _____________

          v. And jar,  49 F.3d  16, 23 (1st  Cir. 1995);  United States  v.
             _______                                      _____________

          Campbell,  874 F.2d  838,  843 (1st  Cir.  1989).   Nevertheless,
          ________

          attempts to define reasonable doubt do  not necessarily result in

          reversible error.  And jar, 49 F.3d at 23.  We have said that, in
                             _______


                                         -16-














          our  experience, even  imperfect formulations,  usually meet  the

          constitutional  requirements when  viewed in  the context  of the

          entire charge to the jury.

                    When we review a trial court's definition of reasonable

          doubt, our concern is whether the instructions have a tendency to

          reduce the government's  burden of proof at trial.   Id.  We will
                                                               ___

          find instructions erroneous when,  taken as a whole, they  have a

          reasonable  likelihood of leading the jury to believe that it can

          convict on some lesser standard of proof than that required under

          the reasonable doubt standard.   See United States v.  Romero, 32
                                           ___ _____________     ______

          F.3d 641, 651 (1st Cir. 1994).

                    Having  reviewed  the  instructions  in  this  case, we

          believe that there  is no reasonable likelihood of misleading the

          jury.  The judge explained  that the burden of proof is  entirely

          on  the government, and that  the government must  prove its case

          beyond a reasonable doubt.   The judge contrasted  the reasonable

          doubt standard with the preponderance of the evidence standard in

          order to avoid any confusion in  the minds of jurors who may have

          served on civil  juries in the past.  At the end of the trial, in

          his  final instructions,  the judge  repeated that  the defendant

          must  be presumed  innocent  and that  the government  must prove

          guilt  beyond a reasonable doubt.  Nothing in the judge's attempt

          to  define reasonable  doubt was  likely to  mislead the  jury or

          suggest  that the government's burden  of proof is  less than the

          reasonable doubt standard.

                                   III. Fair Trial
                                   III. Fair Trial


                                         -17-














                    Appellant   next   claims  that   the   district  court

          "repeatedly questioned witnesses on his own in a manner that made

          him  a  partisan  of  the  government's  case  thereby  depriving

          appellant  of   his  constitutional  right  to   a  fair  trial."

          Appellant's Brief  at  33.   Appellant alleges  that the  judge's

          questions   served  to  bolster  the  credibility  of  government

          witnesses  and undermine  that of  defense witnesses.   Appellant

          also  argues  that  the  judge improperly  raised  objections  to

          appellant's attorney's questioning and  that he elicited improper

          hearsay from a witness.

                    It  is well settled that the trial judge has "a perfect

          right -- albeit a right that  should be exercised with care -- to

          participate  actively in the trial  proper."  Logue  v. Dore, 103
                                                        _____     ____

          F.3d 1040  (1st Cir. 1997).  A trial judge retains the common law

          power to question witnesses and to comment on the evidence.  Id.;
                                                                       ___

          see  also  Fed.  R.  Evid.  614(b) ("The  court  may  interrogate
          _________

          witnesses, whether called by itself or by a party.").  There are,

          however, limits to the behavior that is permitted judges.  "[F]or

          example, the  judge's participation  must be balanced;  he cannot

          become  an  advocate or  otherwise  use  his judicial  powers  to

          advantage  or disadvantage a party  unfairly."  Id.   "An inquiry
                                                          ___

          into  the judge's conduct of  the trial necessarily  turns on the

          question  of  whether  the  complaining party  can  show  serious

          prejudice."  Id.
                       ___

                    In his  brief,  appellant cites  several  instances  of

          alleged  bias on behalf of  the judge.   After careful review, we


                                         -18-














          conclude that these instances  were no more than attempts  by the

          judge to clarify questions, speed the proceedings, or ensure that

          all information is before the jury.  We see no need  to recite at

          length  from  appellant's  brief,  choosing  instead  to  comment

          briefly on his allegations.

                    Appellant   asserts  that   the  judge   bolstered  the

          credibility of government  witnesses on two  occasions.  We  have

          reviewed  the   relevant  testimony  and  consider   the  judge's

          questioning to be  no more than an effort to  make clear that the

          witnesses  were  testifying under  cooperation agreements  and to

          impress on the witnesses the fact that they were required to tell

          the truth.

                    Another instance  cited by appellant was  a decision by

          the judge to overrule  an objection by appellant's counsel.   The

          government  was introducing  a photograph  that included  certain

          markings.    Defense counsel  objected  on the  grounds  that the

          markings  contaminated  the  photo.     At  a  bench  conference,

          appellant's counsel  stated that he understood  that the markings

          were  made during  the  trial  of  co-conspirators and  that  the

          witness  could easily make the same markings on an unmarked photo

          if one  were  available.    The judge  overruled  the  objection,

          stating to the jury that he knew what the marks were and that the

          marks  were  explained to  counsel.    Appellant claims,  without

          elaboration,  that  these  comments  amount   to  bolstering  the

          government's evidence.  We disagree.




                                         -19-














                    As for the  claims that the  judge sought to  undermine

          defense  witnesses  and  defense  counsel, we  find  them  to  be

          meritless.  In both instances identified by appellant,  the judge

          was merely attempting to move the trial along without unnecessary

          delay  and the judge's  comments cannot  be taken  to demonstrate

          bias.  See  Logue, 103 F.3d at 1045; Deary  v. Gloucester, 9 F.3d
                 ___  _____                    _____     __________

          191, 194-95 (1st Cir. 1993).

                    Finally,  appellant  argues  that  the  judge  elicited

          hearsay  evidence during  testimony.   Following an  objection on

          hearsay grounds, the judge asked the witness, Negr n-Zapata, "Who

          told you that Chanci had said or that Chanci would -- If we would

          find kilos he  would -- he would keep  them?"  When Negr n-Zapata

          replied  that Mr. Arroyo had  told him this,  the judge sustained

          the  objection.   Even  if  it  were  determined  that  this  was

          improperly admitted hearsay, it would be harmless error.  Nothing

          in the judge's remarks or the witness's brief response was in any

          way prejudicial to  the defendant.   The comments  simply do  not

          relate  to the  defendant,  implying that,  if  error, they  were

          harmless error.

                                   IV.  Sentencing
                                   IV.  Sentencing

                    Gonz lez-Soberal argues that  the trial court committed

          error when it  refused to grant  a two-point "minor  participant"

          reduction in  his offense level  on the  basis of his  role as  a

          courier.1  "We will  reverse the district court's finding  that a

                              
          ____________________

          1  Section 3B1.2 of the Sentencing Guidelines states:


                                         -20-














          defendant  is not a  minimal or minor  participant only if  it is

          clearly  erroneous."  United States  v. Paz Uribe,  891 F.2d 396,
                                _____________     _________

          399 (1st Cir. 1989); see  also United States v. Garc a, 954  F.2d
                               _________ _____________    ______

          12, 18 (1st Cir.  1992) ("[W]e review a sentencing  court's role-

          in-the-offense  determination  only  for  clear  error.").    The

          defendant bears  the burden of  proving that he is  entitled to a

          downward  adjustment for  his role  in the  offense.   See United
                                                                 ___ ______

          States v. Ortiz, 966 F.2d 707, 717 (1992).
          ______    _____

                    Appellant's  claim fails  on  two independent  grounds.

          First,  he  argues  that  "[t]he trial  evidence  indicates  that

          appellant was a mere courier of money and narcotics," Appellant's

          Brief at 42, yet he points to no testimony or evidence to support

          the assertion  that his role was  limited to one of  courier.  He

          refers  to  only  one statement  made  by  the  trial judge,  who

          commented  that "the evidence has shown so far that the defendant

          was a  money courier."  Tr. II  at 481.  This  is insufficient to

          meet  the defendant's burden  in this case,  and is unconvincing.

          During sentencing, the judge's comments, taken in their entirety,

          do not  suggest that  the judge  viewed the  defendant as  a mere

          courier.  For example, the  judge stated "I do not think  that he

          was  other than  a regular  drug dealer  that was  arranging drug
                              
          ____________________

                      Based  on  the  defendant's role  in  the
                      offense,  decrease  the offense  level as
                      follows:
                      . . .
                      (b)   If  the   defendant  was   a  minor
                      participant  in  any  criminal  activity,
                      decrease by two levels.

          United States Sentencing Guidelines   3B1.2.

                                         -21-














          transactions like  everybody  else was."    Tr. II  at  481.   In

          addition,  the court  made it  clear that  it had  considered the

          defendant's  role in  the  offense, stating  that "the  court has

          considered  his  role  . .  .  in  the  context of  the  relative

          culpability of the different defendants that participated in this

          particular  conspiracy.   And I  will not  make an  adjustment on

          account of role."  Tr. II at 488.

                    Second, even if it  was shown that Gonz lez-Soberal had

          been  no more  than  a courier,  he  would not  automatically  be

          entitled to a  reduction.   See United States  v. L pez-Gil,  965
                                      ___ _____________     _________

          F.2d 1124, 1131 (1st Cir. 1992); Paz Uribe, 891 F.2d at 399.   "A
                                           _________

          defendant  has  the  burden  of  proving  entitlement  to such  a

          downward  adjustment,   and  can   only  prevail  on   appeal  by

          demonstrating that  the district court's determination  as to his

          role  in the offense was clearly erroneous."  L pez-Gil, 965 F.2d
                                                        _________

          at  1131  (citations omitted).   Appellant  fails to  present any

          reasons why, on the facts of this case, he should be granted such

          a reduction.  Therefore,  even assuming, arguendo, that appellant

          was able to establish that he was merely a courier, he has failed

          to carry  his burden of showing that he is entitled to a downward

          adjustment.

                    In  light of  the above  analysis, and  the deferential

          posture we  take  toward role-in-the-offense  determinations,  we

          find no clear error in the district court's sentencing.

                                    V.  Conclusion
                                    V.  Conclusion




                                         -22-














                    For the foregoing reasons, the decision of the district

          court is affirmed.
                   affirmed
                   ________


















































                                         -23-









